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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FORT SMITH DIVISION

PAUL I. WILLS PLAINTIFF

V. CASE NO. 2:20-CV-2150

ENCOMPASS INSURANCE COMPANY

and ENCOMPASS INDEMNITY COMPANY DEFENDANTS
JUDGMENT

IT IS HEREBY ORDERED AND ADJUDGED that, for the reasons stated in the
Opinion and Order filed this day, this case is DISMISSED WITH PREJUDICE on
summary judgment.

IT IS SO ORDERED AND ADJUDGED on this 5 day of June, 2021.

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TIMOTHY L. BROOKS
UNITGD STATES DISTRICT JUDGE

 
